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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8   UNITED STATES OF AMERICA,
 9                 Plaintiff,                               Case No. CR05-334L
10          v.                                              ORDER DENYING
11                                                          MOTION TO STRIKE
     RAJINDER JOHAL, et al.,
12                 Defendants.
13
14         This matter comes before the Court on defendant Maninder Singh Khatkar’s “Motion to

15 Strike Government’s Request for Notice of Intended Alibi Defense - Rule 12.1” (Dkt. # 43).
16 Defendant’s motion to strike is DENIED. Defendant’s response to the government’s request
17 should be within the spirit of the rule as to an alibi defense, to wit: whether there will be an alibi
18 defense as to the overt acts enumerated in the government’s request of February 6, 2006. The
19 Court rejects defendant’s contention that, under these facts, the government is misusing Rule
20 12.1 as a “broad discovery device.”
21
           DATED this 15th day of March, 2006.
22
23
24                                                    A
                                                      Robert S. Lasnik
25                                                    United States District Judge
26

     ORDER DENYING
     MOTION TO STRIKE
